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1 IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
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FILED
3 UNITED STATES OF AMERTCA, } yspemas ence
4 Plaintiff, ) GR 04-100 a NORTHERN OS
)
5 vs. ) VOLUME tr JAN 11 200
)
6 RONALD GREVE, oy SEPUT
7 Defendant. )
8 APPEARANCES:
9 ATTORNEY TERESA BAUMANN, Assistant US Attorney,
Suite 400, 401 First Street S.E., P.O. Box
10 74950, Cedar Rapids, Iowa 52407-4950, appeared
on behalf of the United States.
11
ATTORNEY WALLACE L. TAYLOR, Suite 326, 118
12 Third Avenue S.E., Cedar Rapids, Iowa

52401-1408, appeared on behalf of the
13 Defendant.

14
15
16 JURY TRIAL,
17 held before the Hon. Linda R. Reade on the 18th
18 day of August, 2004, at the Federal Building,
19 101 First Street S.E., Cedar Rapids, Iowa,
20 commencing at 9:30 a.m.
21
22
23

Patrice A. Murray, CSR, RPR, RMR, FCRR
24 Federal Building

101 First Street S.E.

25 Cedar Rapids, Iowa 52401

(319) 286-2324

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—

2 WITNESS
3 Tyler Mower
4 Edward Michel

5 Babette Birch

10 Exhibit No.
Exhibit No.
11 Exhibit No.
Exhibit No.
12 Exhibit No.
Exhibit No.
13 Exhibit A

PNA UB WwW

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EXHIBITS

RD

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RC

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1 THE COURT: This is United States of
161 2 America versus Ronald Greve, Criminal Number
3 04-1008. We are outside the presence of the
1 IN THE UNITED STATES DISTRICT COURT .
; POR THE HORTHERN DISTRICT OF IOWA 4 jury for the purpose of making record.
, UNITED STATES OF AMERICA, ) § Mr. Greve is here with his attorney,
,
‘ Pleincige, — ) CR 04-1008 6 Mr. Taylor. Assistant United States Attorney
7 » “ome 7 Theresa Baumann is here on behalf of the United
6 RONALD OREVE, ’
2 Defendant. } 8 States.
8 APPEARANCES: 9 It's my understanding, Mr. Taylor,
° Nive 400, 401 Piet street Scfe, P.O. Boe 10 that Marvin Kimball did not respond to your
10 74950, Cedar Rapids, Iowa $2407-9950, appeared
11 ened of the United States. 11. subpoena and appear this morning at nine; is
ATTORNEY WALLACE L. TAYLOR, Suite 326, 118
‘ 32401-1400, appeated om behell’ of the 12 that correct?
Defendant.
ia 13 MR. TAYLOR: That's correct.
a5 14 THE COURT: And as we talked
16 TURY TRIAL. 15 yesterday, I had the clerks get a warrant
17 held before tho Hon. Linda R. Roade on the 18th
18 day of August, 2004, at the Pederal Building, 16 ready.
i Ol Firet Street 3.£., Cadar Repide, lowa, 7 THE COURT SECURITY OFFICER: He's
20 commencing at 9130 a.m. 18 here now.
. 19 THE COURT: He is here now? Marvin
23 20 Kimball, okay. Let's check and make sure that
Patrice A. Murray, CSR. RPR, RMR, FCRR
* lot Tires ceveot OE. 21 it's “the” Marvin Kimball so we can stop the
25 Cedar Rapids, Towa $2€01
(319) 286-2326 22 marshals if it's the right one.
23 THE COURT SECURITY OFFICER: Reed.
24 MR. TAYLOR: Reed, no. May I check,
25 Your Honor, just a moment?
1 INDEX
1 THE COURT: Yes. Reed is a juror.
2 WITNESS D c RD RC 2 (A discussion was held off the
3 TylerMower 168 204 208 # 209 3 record.)
Edward Michel 225 229 231 4 THE COURT: Back on the record. I
4 ward mene § stand corrected. Marshal Arechiga just let us
5 Babette Birch 231 234 237 6 know that Mr. Kimball has appeared late, but
6 7 he’s here. I've told the marshals not to
8 execute the warrant, but to caution him that he
7 9 needs to remain here until he's called as a
8 EXHIBITS 10 witness.
9 Oo R "1 Anything -- I'm sorry, Mr. Taylor.
12 MR. TAYLOR: Yes, that's fine. I did
10 Exhibit No. 3 174 175 13 just talk with Mr. Kimball briefly, and we
Exhibit No. 4 176 176 Ju Ye
11. Exhibit No. 5 178 178 14 discussed yesterday appointing an attorney to
2 Shit Ne § 183 183 15 advise him. That may be a good idea.
x Q.
Exhibit No. 13 199 200 16 THE COURT: All right. And I'll ask
13° Exhibit A 245 245 17. Nikki to go across the hall and ask Denise to
‘ 18 call somebody to come over right away to meet
16 19 with Mr. Kimball.
ie 20 And Nikki, when you go out in the
19 21 hall, will you tell him that we're calling an
22 attorney to come over and meet him?
22 23 THE CLERK: Yes.
a 24 THE COURT: What does Mr. Kimball
gsc ase 2:04-cr-01008-MWB-LTS Document 7Vos idokamlid AdQRe dkg Gaye! tAdre?

165 167
1 MR, TAYLOR: He's the only 1 able to testify that visually what was going on
2. African-American. 2 comported with what he saw?
3 THE COURT: Okay. He's the only 3 MS. BAUMANN: And what he heard, yes.
4 African-American in the hall. 4 THE COURT: And he'll be able to talk
5 THE CLERK: Okay, thank you. § about the equipment and so on and so forth?
6 THE COURT: Yeah. All right. Crisis 6 MS. BAUMANN: Yes.
7 Number 1 of the day averted. Anything else 7 THE COURT: All right. I'll take
8 that we need to talk about before the jury 8 that up then and see If you lay the proper
9 comes in, Mr. Taylor? 9 foundation.
10 MR. TAYLOR: I talked to Ms. Baumann 10 And what other -- just the audio of
11. this morning, and It's my understanding that 11 13, that's the thing you're objecting to?
12 the Government Is going to introduce a 12 MR. TAYLOR: Yes, yes. The video, I
13 videotape of the transaction at the Heritage 13 think, is something that speaks for itself.
14 Trail Pond and also an audiotape, a separate 14 But the audio, I think, has some problems.
15 audiotape. I intend to object to the audio 15 THE COURT: All right. Anything
16 part but not the video part. And so I think we 16 else?
17 need to take that up at that time before the 17 MS. BAUMANN: Nothing, Your Honor.
18 video's actually played. 18 THE COURT: All right. If the jury's
19 THE COURT: All right. Is this the 19 ready, we're ready.
20 transaction or the occurrence where the 20 (Whereupon, the jury entered the
21 Defendant was arrested? 21 courtroom.)
22 MS. BAUMANN: Yes. 22 THE COURT: Good morning, members of
23 MR. TAYLOR: Yes. 23 «the jury. We're ready to continue with the
24 THE COURT: All right. And there is 24 case of United States of America versus Greve.
25 a video and an audio of it, and the video you 25 And the Government may continue with its
166 168
1. don't object to. What number is that In the 1 evidence.
2 witness -- or in the exhibit list? 2 MS. BAUMANN: Thank you, Your Honor.
3 MS. BAUMANN: It's Government 3 The United States calls Inspector Tyler Mower.
4 Exhibit 13, but it's my understanding that 4 THE COURT: Hello, sir. Please raise
5 Mr. Taylor is still objecting to the audio § your right hand.
6 portion of the videotape. We did not redact 6 TYLER MOWER,
7 the audio. It's as it was recorded. 7 called as a witness, being first duly sworn,
8 THE COURT: Okay. All right. And so 8 was examined and testified as follows:
9 what is your objection to Exhibit 13 audio? 9 THE COURT: Please come to the stand.
10 MR. TAYLOR: Lack of foundation, it's 10 DIRECT EXAMINATION
11 hearsay, requires speculation by the jury, and 11. BY MS. BAUMANN:
12 Rule 403 also. It's my understanding none of 12 Q. Inspector Mower, please state your full
13 the participants in the conversation will be 13 name and spell your last name for the record.
14 testifying. 14 A. Tyler Mower, T-Y-L-E-R, M-O-W-E-R.
15 THE COURT: All right. How are you 15 Q. How are you currently employed?
16 then going to lay the foundation for 16 $A. Iama federal law enforcement officer
17 “Exhibit 13? 17 with the United States Postal Inspection
18 MS. BAUMANN: Your Honor, I believe I 18 Service out of Springfield, Illinois.
19 can meet the MacMillan factors by Agent 19 Q. And prior to becoming a postal inspector,
20 Taylor -- or excuse me, Tyler Mower is going to 20 what was your title?
21. ‘testify. He was in the vehicle where the 21 A. “Iwasa special agent with the Division
22 recording device was located, he monitored the 22 of Narcotics Enforcement down out of Dubuque,
23 entire transaction, and he observed visually 23 ~Towa.
24 what was going on at the same time. 24 Q. When did you become a postal inspector?

25 CASE 2: Ofer BURASAMINAR: LanS heéageuMent 7

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1 @. How long were you a special agent prior 1 investigation?
2 to that? 2 A. Ibecame involved on August 29 of 2002.
3 A. Iwasa special agent for approximately 3 Q. And initially what was your role in the
4 three and a half years. And before that I was 4 investigation?
5 a state police officer out of Marquette, Iowa, 5 A. I became the case agent on August 29 of
6 and the Quad Citles. 6 2002, because the Bear Creek Narcotics Task
7 @Q. Prior to beginning your work as a state 7 Force decided they were going to use me in an
8 police officer, did you receive training at the 8 undercover capacity to try to purchase
9 state academy? 9 narcotics from Shaun Ruff.
10 A. Yes, I did. 10 Q. And who was the case agent prior to you
11. Q@. ~~ Did you successfully complete that 11. becoming the case agent?
12. training? 12 A. Steve Schroeder from the Sear Creek
13 A. Yes. 13 Narcotics Task Force was the agent prior to me.
14 Q. Have you been to specialized narcotics 14 @Q@. Why aren't you currently the case agent?
15 training at any time? 15 A. Itooka different position with the
16 A. Yes, I have. 16 federal law enforcement, so I passed my case
17. Q. What has that entailed? 17 along to Special Agent Darrell Simmons.
18 A. Tattended the two-week Drug Enforcement |18 Q. After you became involved in the
19 Agency school in Des Moines, Iowa. I’ve also 19 investigation, what generally occurred?
20 attended several schools in Sioux City, Iowa, 20 MR. TAYLOR: I'm going to object,
21 including a one-week undercover -- specialized | 21 Your Honor, to any questioning of any incidents
22 «training in undercover drug narcotics work and | 22 prior to December 13 of 2002, for the reasons
23 also basic investigator's school in Sioux City, 23 stated yesterday; that it's irrelevant and
24 Towa. 24 immaterial, and no foundation that involve
25 Q. You've maintained all continuing 25 Mr. Greve.
170 172
1 education requirements? 1 THE COURT: I will conditionally
2 A. Yes, I have. 2 admit evidence concerning incidents prior to
3 @Q._ And you're fully certified as a law 3 December 13, 2002.
4 enforcement officer? 4 BY MS. BAUMANN:
5 A. Yes,Iam. 5 Q. You can answer the question.
6 @Q. Were you involved in the investigation of 6 A. Okay. Could you state that again,
7 Ronald Greve? 7 please.
8 A. Yes, I was. 8 Q. Yes. When you became involved in the
9 @Q. Do you see Mr. Greve in the courtroom 8 investigation, what generally was the direction
10 today? 10 of the investigation?
11.#A. Yes,Ido. 11. A. WhenI was involved on August 19 of 2002,
12 Q. Could you point him out and describe what 12. the first transaction that I was involved in,
13 he’s wearing? 13 Ed Michel purchased approximately a half-ounce
14 A. He's sitting right here. He's got the 14 of cocaine from Shaun Ruff in what we called
15 blue shirt with the -- it appears to be a 15 the old school parking Jot in St. Donatus,
16 yellow tie. 16 Iowa.
17 MS. BAUMANN: Your Honor, may the 17. Q@. ~~ When did that transaction occur?
18 record reflect the witness has identified the 18 A, That was on August 19 of 2002 -- excuse
19 Defendant. 19 me, that was August -- I don't recall actually.
20 THE COURT: Yes. 20 I believe it was August 29, 2002. If I could
21. BY MS. BAUMANN: 21 look at my notes, I could tell, yeah.
22 @Q. When did the investigation of the 22 Q. Would looking at your reports refresh
23. Defendant begin? 23 =: your recollection?
24 +A. On July 24 of 2002. 24 A. Yes.

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1 approach the witness? 1 foundation, hearsay, speculation, and Rule 403.
2 THE COURT: Yes. 2 THE COURT: Overruled. It's
3 °4«As Thank you. It was August 29 of 2002. 3 admitted.
4 BY MS. BAUMANN: 4 (Whereupon, Exhibit No. 3 was
§ @Q. Looking at your notes reflected -- or 5 received.)
6 refreshed your recollection? 6 BY MS. BAUMANN:
7 +A. Yes, August 29, 2002. 7 @Q@. ~~ Inspector Mower, was there any other
8 Q. On that date, how much money was paid for 8 transactions in this case with which you were
9 the cocaine that was purchased? 9 involved?
10 A. $560. 10 A. Yes, on October 5 of 2002, myself and Ed
11. @Q@. And about how much cocaine was purchased? 11. Michel once again purchased cocaine from Shaun
12 A. Approximately one-half ounce. 12 Ruff. On this occasion, we purchased 4 ounces
13. Q. During that transaction, what sort of 13 of cocaine, in the old school parking lot in
14 procedure was followed? 14 St. Donatus, Iowa. We purchased 4 ounces for
15 A. During a typical drug transaction, if a 15 $3800 in preserialized United States currency.
16 confidential informant is used, that 16 Q. So you actually met with Shaun Ruff
17 confidential informant is searched before and 17 yourself?
18 after the transaction. They're provided with 18 A. Yes, I did.
19 preserialized United States currency. After 19 @Q. Did he know you were a law enforcement
20 =the transaction, they're searched again. 20.~=«“officer?
21. They're provided with a body wire, which 21 A. No. I was -- I was acting in an
22 enables law enforcement officers to monitor the | 22 undercover capacity, posing as a person from
23 +transaction and record the conversation taking 23. the Chicago, Illinois, area.
24 place. And then after the transaction as well, 24 MS. BAUMANN: Your Honor, may I
25 the confidential informant usually provides a 25 approach the witness?
174 176
1 statement to law enforcement officers. 1 THE COURT: Yes.
2 @Q. Was that standard procedure used on 2 BY MS. BAUMANN:
3 August 29 in this case? 3 Qa. ‘Showing you what has been marked as
4 A. Yes, it was. 4 Government Exhibit 4, Do you recognize that
5 MS. BAUMANN: Your Honor, may I 5 item?
6 approach the witness? 6 A. Yes, Ido.
7 THE COURT: Yes. 7 QQ. Whatis it?
8 BY MS. BAUMANN: 8 A. This was the approximately 4 ounces that
9 Q. I'm showing you what has been marked as 9 was purchased by myself and Ed Michel on
10 Government Exhibit 3. Do you recognize that 10 October 5 of 2002.
11° item? 11. Q. ~~ And other than having been repackaged by
12 A. Yes,I do. 12 the laboratory, is it in the same condition as
13 Q. What is that? 13 it was in when you received it on that date?
14 A. That was the half-ounce that was 14 A. Yes, itis.
15 purchased by Ed Michel from Shaun Ruff. 15 MS. BAUMANN: Your Honor, United
16 @Q.  Half-ounce of what? 16 States moves to admit Government Exhibit 4 into
17 A.  Half-ounce of cocaine. 17 evidence.
18 @Q. And other than having been repackaged by 18 MR. TAYLOR: Same objection as to
19 the laboratory, is it in the same condition as 19 Exhibit 3, Your Honor.
20 it was in when you saw it on August 29 of 2002? 20 THE COURT: Ali right. Overruled.
21 =A. Yes, itis. 21 (Whereupon, Exhibit No. 4 was
22 MS. BAUMANN: Your Honor, Government 22 ~=received.)
23 moves to admit Government Exhibit 3 into 23 BY MS. BAUMANN:
24 evidence. 24 Q. Were you involved in any other

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1 A. Yes, I was. 1 @Q. ~~ And was there an additional transaction
2 Q. When did that occur? 2 with which you were involved?
3 A. Itwasin November. I do not recall the 3 A. “Yes, there was.
4 exact date. 4 @Q When did that occur?
§ @Q. Would looking at your reports help 5 A. On December 12, 2002.
6 refresh your recollection? 6 @Q. And what happened on that date?
7 ~#=A. ~~ Yes, it would. 7 A. On December 12 of 2002, I arranged --
8 MS. BAUMANN: Your Honor, may I 8 made arrangements with Shaun Ruff to purchase
9 approach the witness with his report? 9 approximately 1 pound of cocaine, 16 ounces of
10 THE COURT: Yes. 10 cocaine. We ended up meeting at a church
11. BY MS. BAUMANN: 11 parking lot just south of St. Donatus on
12 Q. Does looking at your report refresh your 12. Highway 52.
13 recollection? 13 Mr. Ruff arrived, some conversations
14 +A. Yes, it does. 14 took place, we were weighing out the cocaine
15 @Q. What was the date of that next 15 for the purchase that was going to be made.
16 transaction? 16 During the conversation with Mr.
17 A. It was November 19 of 2002. 17 Ruff, after I had observed the cocaine, I gave
18 Q. What happened on that date? 18 a what we calla “takedown signal," which would
19 A. On November 19 of 2002, myself -- I was 19 bea word or phrase of words to let the other
20 by myself that time -- I met with Shaun Ruff at 20 = «officers know to come in and do a takedown
21. +the old school parking lot, St. Donatus, Iowa, 21 because we weren't actually going to pay the
22 once again. I purchased 4 ounces of cocaine. 22 money for this transaction.
23 «This time the purchase price was for $3900. 23 Q. On December 12, November 19, and
24 Once again I was acting in an undercover 24 October 5, did you use the same standard
25 capacity. 25 procedures for conducting a controlled
178 180
1 MS. BAUMANN: Your Honor, may I 1 transaction which you previously described?
2 approach the witness? 2 A. “Yes, we did.
3 THE COURT: Yes. 3 Q._ And you said that you gave the takedown
4 BY MS. BAUMANN: 4 signal. What exactly does that mean?
5 @. Showing you what has been marked as 5 A. The takedown signal, it would be a phrase
6 Government Exhibit S, do you recognize that 6 of words or word, whatever we would come up
7 item? 7 with, that all the other officers know. And at
8 A. Yes, Ido. 8 that time, the other officers would come in,
9 Q. What is it? 9 place the person -- detain the person, place
10 A. It's the 4 ounces I purchased from Shaun 10 them In handcuffs for officer safety, pat the
11. Ruff on November 19 of 2002. 11. person down. Usually they go into interviews
12. Q. Other than having been repackaged by the 12 from there.
13 laboratory, is it in the same condition as it 13° Q@. How many takedowns have you participated
14 was in when you purchased it? 14 in in your career?
18 A. Yes, itis. 15 A. Numerous, dozens.
16 MS. BAUMANN: Your Honor, United 16 @Q. During the takedown, what typically
17 States moves to admit Government Exhibit 5 into 17 happens with the suspects?
18 evidence. 18 A. During most takedowns, the -- when the
19 MR. TAYLOR: Same objections as to 19 officers arrive, they're asked to lay down,
20 Exhibits 3 and 4. 20 they go prone on the ground, hands out, hands
21 THE COURT: All right. Overruled. 21. and legs apart. Officers like to see their
22. «It's admitted. 22 hands for officer safety, once again, to make
23 (Whereupon, Exhibit No. 5 was 23 «sure they're not disposing of evidence or
24 ~=received.) trying to harm the officers. They're proned
25 C QP fs. BAUMANN-OO8-MWB-LTS Document Mae out Ghd then Slaced Mafandelitte/ and they're

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1 patted down once again for officer safety. 1 So he had actually had a package, different

2 Q. Now, on December 12, 2002, were you 2 packages, so -~ for weighing purposes, and

3 treated as a suspect? 3 actually, he was transferring some of the

4 =A. Yes, I was. 4 packages that night to smaller packages so it

5 @Q. What does that mean? 5 could fit on the scale.

6 A. Myself, when the officers showed up, I 6 @Q. And then other than having been

7 was actually proned out as well. The standard 7 repackaged by the laboratory, are those

8 procedure when we're doing undercover 8 packages in the same condition as they were in

9 operation, the -- the officer's usually proned 9 when you saw them on December 12, 2002?

10 out as well, and I was proned out. One 10 A. Yes, they are.

11 handcuff, I believe, was placed on me at the 11 MS. BAUMANN: Your Honor, Government

12 time as well. 12 moves to admit Government Exhibit 6.

13. @Q@. ~~ Did you ever purchase cocaine that day? 13 MR. TAYLOR: Same objection as to

14 A. No, the cocaine was not purchased. 14 Exhibits 3, 4, and S.

15 @Q. Did you have preserialized currency with 15 THE COURT: Overruled. It's

16 you? 16 admitted.

17 A. YVes,I did. 17 (Whereupon, Exhibit No. 6 was

18 Q. Why didn't you purchase the cocaine? 18 received.)

19 A. Usually when you're dealing with the 19 MS. BAUMANN: May I approach again,

20 larger amounts of money, just in case of -- I 20 Your Honor.

21 guess, the subject you're dealing with, in case 21 THE COURT: Yes.

22 «there would be a rip off with the officer, we 22 BY MS. BAUMANN:

23. «didn't want to be out the 14 or 15 thousand 23 Q. = I'm showing you Government Exhibit 1 and

24 dollars, so we had some money, and as soon as 24 Government Exhibit 2, which have already been

25 the -- I gave the takedown signal, we didn't 25 admitted into evidence. Do you recognize those
182 184

1 want the actual money -- the transaction to 1 items?

2. take place just In case we lost the money 2 A. Yes,Ido.

3 somehow. 3° @Q@. What is it?

4 Q. But Mr. Ruff did have cocaine with him? 4 A. It is the half-pound, the alleged -- or

5 A. Yes, he sold me the cocaine. 5 the half-pound of marijuana that was purchased

6 Q. And approximately how many ounces did he 6 from Shaun Ruff by Ed Michel on July 24 of

7 have? 7 2002.

8 A. It was approximately 17 ounces. 8 Q. = And what is Government Exhibit 2?

9 MS. BAUMANN: Your Honor, may ! 9 A. Exhibit 2 is the approximately 1 pound of
10 approach the witness? 10 marijuana purchased by Ed Michel from Shaun
11 THE COURT: Yes. 11. Ruff on August 19 of 2002.

12 BY MS. BAUMANN: 12 Q. Were Government Exhibits 1 through 6

13. Q. Showing you what has been marked as 13 submitted to a laboratory for analysis?

14 Government Exhibit 6. Do you recognize that 14 A. “Yes, they were.

15 item? 15 Q. Which laboratory?

16 A. Yes,I do. 16 A. The DCI Criminalistics Laboratory in
17, Q. ~~ ~What is it? 17 Des Moines, Iowa.

18 A. It's the approximately 17 ounces that 18 MS. BAUMANN: Your Honor, may I read
19 Shaun Ruff showed to me on December 12, 2002. |19 a stipulation into the record?

20 Q. = And there is a large baggie which 20 THE COURT: You may.

21. contains other baggies. Can you explain why 21 MS. BAUMANN: "The United States of
22. «that is? 22 America versus Ronald Greve, parties's

23 A. We--on that particular one, we were 23 ~~ stipulation regarding admissibility of

24 ~=«trying to actually weigh the cocaine and -- on laboratory reports.

25 Ca@Seate 6 thane sure r'Washrtlbbing Mived Alt 7

le? Filed Ofphelhifed Sta@S of Athetiéa and the

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1. Defendant, Ronald Greve, stipulate and agree 1 time. The investigation later showed that it

2 that the following facts are true and may be 2 appeared --

3 considered by the Court and the jury without 3 MR. TAYLOR: Objection, Your Honor,

4 further evidence or testimony being offered: 4 hearsay and speculation.

5 "One, criminalists from the Iowa 5 THE COURT: I think we are getting

6 Department of Public Safety's Division of 6 into hearsay on that. You can ask another

7 Criminal Investigations Criminalistics 7 question.

8 Laboratory analyzed substances in this matter. 8 MS. BAUMANN: Thank you.

9 The laboratory reports are admissible business 9 BY MS. BAUMANN:
10 records pursuant to Federal Rule of Evidence 10 @Q. Inspector Mower, placing page 2 of the
11 803(6) and 902(11). 11. report, which is Government Exhibit 7, onto the
12 “The laboratory reports include the 12 screen. What does that show?
13 following, which are attached hereto: A lab -- 13° «OAs That shows the approximately half-ounce
14 areport dated 11/5/02 authored by Sandra 14 of cocaine that was purchased by Ed Michel on
15 Stoltenow, listing Exhibits A and C; a report 15 August 29 of 2002.
16 dated 11/12/02 authored by Terry Elrow 16 Q. And page 3 of the exhibit, what does that
17 (phonetic), listing Exhibit E; a report dated 17 show?
18 11/12/02 authored by Stacey Schmeiser, listing 18 #A. That shows the 4 ounces that myself and
19 Exhibit A; and a report dated 2/12/03 authored 19 Ed Michel purchased from Shaun Ruff on -- I
20 by Terry Elrow, listing Exhibits G, I, J, 20 can't recall the date offhand.
21. K-001, K-002, and K-003." 21. #@Q. The next buy in this case?
22 Your Honor, the United States moves 22 +A. “Yes, the next buy.
23 to admit Government Exhibit 7 pursuant to the 23. Q@. = And finally the last page of Government
24 ~~ stipulation. 24 ~=Exhibit 7, what does this laboratory report
23 MR. TAYLOR: Object as to relevance, 25 show?

186 188

1 Your Honor. 1 A. Exhibit G is the 4 ounces that I had

2 THE COURT: Overruled. It's 2 purchased from Shaun Ruff on my own. And then

3 admitted. 3 Exhibits I, J, K-001, K-002, and K-003 were

4 (Whereupon, Exhibit No. 7 was 4 part of -- or the 17 ounces that Shaun Ruff

5 received.) § showed me on December 12 of 2002.

6 MS. BAUMANN: May I publish 6 Q. Now, in all of these laboratory reports,

7 Government Exhibit 7 to the jury. 7 where do the letter exhibit names come from?

8 THE COURT: Yes. 8 A. The letter exhibit names came from the

9 BY MS. BAUMANN: 9 DCI lab.
10 @Q. Inspector Mower, placing Page 1 of 10 @Q. So those do not correlate with your
11. Government Exhibit 7 on the overhead 11 own -- you have separate numbers in your
12 projection, what does this exhibit show? 12 investigation than the laboratory does?
13 =A. Exhibit A shows the half-pound of 13 =A. Correct.
14 marijuana that was purchased by Ed Michel from | 14 Q. When you obtained packages of drugs from
15 Shaun Ruff on July 24, 2002. And Exhibit C 15 suspects, are they typically submitted to
16 shows the approximately 1 pound of marijuana 16 experts for fingerprint analysis?
17. that was purchased by Ed Michel from Shaun Ruff |17 A. Depends on, I guess, the case-by-case
18 on August 19, 2002. 18 nature. If we know exactly who we're dealing
19 Q. And there are a couple of names on this 19 with, sometimes we won't submit them because
20 paper. What are those names? 20 we've already got the evidence on video and
21 +A. Shaun Joseph Ruff and Trevor James 21 audio and there's a hand-to-hand with an agent.
22 Deutmeyer. 22 On other occasions, where we're just
23 Q@. Whois Trevor Deutmeyer? 23 dealing with a Jim Smith on the street, we
24 +A. He wasa person we originally thought was | 24 don't know their true identity, we'll submit

25C @uppiying Shada Adee With Rrarijganastanadent 7

Hos? themchad thy tO get Flagedtintstrom them. Or

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1 if we're trying to follow up the -- trying to 1 @Q. Showing you Government -- what have been
‘2. discover the sources, trying to discover 2 marked as Government's Exhibits 8 and 8A. Do
3 actually who the cocaine is coming from, we'll 3 you recognize those items?
4 submit in those instances as well. 4 A. Yes,Ido.
5 @Q. In your years of being a drug § @Q. What is Government Exhibit 8?
6 investigator, about what percentage of the time 6 A. Exhibit 8 is the copy of the CD of the
7 did you see analysis coming back with positive 7 transaction between me and Shaun Ruff on
8 identification of fingerprints when you did 8 December 12, 2002.
9 send it to the laboratory for analysis? 9 @. How do you know that?
10 A. Very rarely do we actually get a positive 10 A. I've listened to the CD and initialed it.
11. identification on the fingerprints from 11. Q. + Whose voices are on that compact disk?
12 submitting baggies to the lab for analysis. 12 A. Myself and Shaun Ruff's.
13 Q. Were there identifiable prints on 13. @. Does the CD truly and accurately reflect
14 Government Exhibits 1 through 6? 14 the conversation that you had with him on
15 A. One --I know one fingerprint came back 15 December 12, 2002?
16 positive. 16 A. Yes, it does.
17. Q. Who was that fingerprint to? 17 @Q. Have there been any changes, additions,
18 A. Shaun Ruoff. 18 or deletions made to that CD since it was
19 Q. Were any of your fingerprints found on 19 recorded?
20 any of the drugs? 20 A. No.
21 A. No, they were not. 21. Q. And what is the item marked as
22 @Q. = Any other fingerprints found? 22 Exhibit 8 A?
23 «A. = No. 23 «A. Exhibit 8A is a transcript of the
24 Q. Was there an audio recording made during 24 conversation between myself and Shaun Ruff on
25 the transaction between you and Shaun Ruff on 25 December 12 of 2002.
180 192
1 December 12? 1 Q. Does it accurately reflect the names of
2 A. Yes, there was. 2 the speakers on the CD?
3 Q. How was that done? 3 A. Yes, it does.
4 A. The body wire is basically -- I wore the 4 @. And does it accurately reflect the
5 body wire on that particular evening, so I was § conversation which took place?
6 wearing the body wire for other officers to be 6 A. Yes, it does.
7 conducting surveillance and recording the 7 MS. BAUMANN: Your Honor, the
8 conversation. They record the conversation. 8 Government moves to admit Government Exhibit 8
9 After the transaction is done, we take the 9 and Government Exhibit 8A for demonstrative
10 cassette tape, it’s heat-sealed, and then 10 purposes only.
11. placed in the evidence locker. It's usually 11 MR. TAYLOR: We object, Your Honor,
12. duplicated for copies and the tabs are punched | 12 on the basis of relevancy and also under Rule
13 out so it can't be altered or dubbed over in 13 403.
14. any way. 14 THE COURT: Overruled.
15 @Q. And what is a body wire? 15 MS. BAUMANN: May I publish
16 A. Abody wire -- basically it could be 16 Government Exhibit 8 using the software?
17 numerous things. It's a microphone worn by 17 THE COURT: You may.
18 either the confidential informant or the 18 (Whereupon, the tape was played.)
19 undercover officer that records the 19 BY MS. BAUMANN:
20 conversations between you and -- you and the 20 @Q. Inspector Mower, what was happening
21 suspect. 21. during the bulk of that conversation?
22 MS. BAUMANN: Your Honor, may I 22 A. During the majority of that, the
23 approach the witness? 23 transaction, myself and Mr. Ruff were at the
24 THE COURT: Yes. 24 back of my vehicle at the trunk. We were
2s O5 CMS. Hh uMANNYOS-MWB-LTS Document 7428 tryfig tol Weighmuttiag @ok2ind.2He wasn't for

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1 sure exactly how much he had, so he was 1 Greve drove a red-colored Honda. We watched
2 actually weighing it on the scale that I 2 the area where Ruff was waiting for Greve.
3 brought with me. 3 Greve pulled up In a red-cofored Honda. He was
4 Q. What happened following the transaction 4 later Interviewed, and other officers
§ on December 12 that we just listened to? 5 positively identified him as Ron Greve.
6 A. Following the transaction, after the 6 @. And where did the delivery take place?
7 takedown signal was given, Ruff was talked to 7 +A. The delivery took place just north of
8 by another Investigator. Ruff decided he 8 Dubuque, at the Heritage Trail parking lot.
9 wanted to ccoperate and help himself out. 9 Qa. Was there a specific location at that
10 MR. TAYLOR: Objection, Your Honor, 10 Heritage Trail parking lot where the delivery
11 hearsay as to what Mr. Ruff said. 11 took place?
12 THE COURT: Overruled. Proceed, but 12. =A, The actual transaction, cash transaction,
13 fet’s not get into hearsay here. 13 took piace in Shaun Ruff’s vehicle.
14 +A. The -- Ruff was Interviewed by other 14. Q@. What exactly did you see from your
15 officers. I was -- I was taken away, and Ruff 15 vantage point?
16 was interviewed subsequent about his knowledge 16 A. When we first arrived, Shaun Ruff pulled
17 of the drug transactions that we had been 17 in the parking lot and parked. We listened to
18 Involved with. 18 the body wire. He ended up placing a phone
19 BY MS. BAUMANN: 19 call to Ron Greve. A few minutes later, we
20 @Q. ~ And what happened next? 20 observed -- or I observed the red car being
21 A. Weattempted to make several recorded 21. driven by Ron Greve pull up. Ron Greve exited
22 telephone calls to pay the money that he owed 22. «the driver's side door and entered Shaun Ruff's
23~«sOofor the cocaine. 23. passenger's side where I heard the conversation
24 Q. Was there eventually a transaction that 24 between him and -- between Shaun Ruff and Ron
25 took place? 25 Greve.
194 196
1 °=#A. ~~ = Yes, there was. 1. @. Did you see anyone else other than Ron
2 @Q. When did that occur? 2 Greve enter the Blazer which was driven by
3 A. The cash transaction occurred on 3 Shaun Ruff?
4 December 13 of 2002. 4 =A No, I did not.
5 @Q. And who was involved in that transaction? § @Q. And there was an audio recording of this
6 A. Shaun Ruff and Ron Greve. 6 delivery made?
7 @Q. What was your role in that transaction? 7 =OAz Yes, there was.
8 A. Iwasa part of a surveillance vehicle, 8 MS. BAUMANN: May I approach the
9 and I was monitoring the body wire, and 9 witness, Your Honor?
10 helping -- or another person In the vehicle was 10 THE COURT: Yes.
11. fliming the transaction. 11 BY MS. BAUMANN:
12 @. So you were in the same vehicle with the 12 @. = I'm showing you what has been marked as
13 recording equipment that did a videotape and an 13. Government Exhibits 12 and 12A. Do you
14 audiotape? 14 ~recognize those items?
15 A. Correct. 15 A. Yes, I do.
16 Q. How do you know that Shaun Ruff and the 16 = Q And what is Government Exhibit 12?
17 Defendant were the two people that were 17 =A. Exhibit 12 Is a copy of the body wire
18 involved? 18 between Shaun Ruff and Ron Greve on December 13
19 A. Wehad followed Shaun Ruff to the 19 of 2002.
20 vehicle. Surveillance people had actually 20 @. How do you know that?
21. followed him to the meeting location. From 21 +A. I've reviewed the tape and my Initials
22 dealing with Shaun in the past, we know he 22 are on it.
23 «drives a green Blazer. 23 #@Q. Have there been any changes, additions,
The green Blazer was parked there at 24 =r deletions made to that COD after the

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1 A. No, there have not. 1 Ruff and Ron Greve on December 13 of 2002.
2 Q. Wasa recording preserved in a specific 2 Q@. How do you know that?
3 manner? 3 A. I've viewed the tape and my initials are
4 A. After the recordings are made, once again | 4 on it.
5 they're placed in a locked evidence locker 5 Q. Have there been any changes, additions,
6 where they're heat-sealed. 6 or deletions made to the videotape since the
7 @Q. And were the tapes preserved in that they 7 transaction was recorded?
8 could not be recorded over or deletions made? 8 A. No, there have not.
9 A. Yeah, as well the tabs are punched out on | 9 @. How was the recording preserved?
10 them or on the videotapes the slide is shoved [10 A. Once again, it's got -- the tabs are
11. over so nothing can be added or erased in any |11 broken out, and the slide is across the
12. way. 12 videotape where it can't be altered or erased
13. @. What is Government Exhibit 12A? 13 and it's locked in a locked evidence locker.
14 A. 12Ais the transcript between Shaun Ruff |14 Q. And you're referring to the original
15 and Ron Greve on December 13 of 2002. 15 videotape?
16 Q. Does it accurately reflect the names of 16 A. Correct.
17 the speakers on the CD? 17 Q. And this is a copy?
18 A. Yes, it does. 18 A. Correct.
19 Q. Does it accurately reflect the 19 MS. BAUMANN: And, Your Honor,
20 conversation that took place? 20 Government would ask to admit Exhibit 13.
21 A. Yes, it does. 21 MR. TAYLOR: We would object to the
22 MS. BAUMANN: Your Honor, United 22 audio portion of it, which I understand will be
23 States moves to admit Government Exhibit 12 and 23 ~played as well. But we have no objection to
24 Government Exhibit 12A for demonstrative 24 the video portion. And the objection to the
25 purposes only. 25 audio portion would be the same as to
198 200
1 MR. TAYLOR: Object, Your Honor, on 1 Exhibit 12.
2. the basis of foundation, relevancy, 2 THE COURT: All right. Overruled.
3 speculation, and Rule 403. 3 It’s admitted.
4 THE COURT: All right. Overruled. 4 (Whereupon, Exhibit No. 13 was
5 (Whereupon, Exhibit Nos. 12 and 12A § received.)
6 were received.) 6 MS. BAUMANN: Your Honor, may I
7 MS. BAUMANN: May I publish 7 publish Government Exhibit 13 in two parts.
8 Government Exhibit 12 using the software? 8 THE COURT: Yes.
9 THE COURT: You may. They are 9 MS. BAUMANN: For the record, I'm
10 admitted. 10 playing from counter Number 2.00 to 3.20.
11 (Whereupon, the tape was played.) 11 THE COURT: And that's on Exhibit 13?
12 BY MS. BAUMANN: 12 MS. BAUMANN: Yes.
13. Q. = Inspector Mower, was there also a 13 (Whereupon, the tape was played.)
14 videotape of this transaction made? 14 MS. BAUMANN: For the record, I’m
18 A. Yes, there was. 15 publishing Government Exhibit 13, at counter
16 MS. BAUMANN: May I approach the 16 number 10.00 to 11.59.
17 witness, Your Honor? 17 BY MS. BAUMANN:
18 THE COURT: Yes. 18 Q. Inspector Mower, I just played two
19 BY MS. BAUMANN: 19 portions of the videotape, which is Exhibit 13.
20 @. Showing you what has been marked as 20 Can you explain the difference in time on those
21. Government Exhibit 13, do you recognize that 21. +videotapes?
22 item? 22 A. The first portion you saw was when Task
23 A. Yes, Ido. 23 «Force Officer Steve Schroeder contacted Shaun
Q. What is it? 24 Ruff to attempt to actually purchase or have

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1 meeting place, and then there was a 1 with any whereabouts of a Fifty. They were
2 couple-minute gap in between that phone call 2. unaware of a Fifty as well. And also checked
3 and when actually Ron Greve pulled into the 3 with the East Dubuque Police Department and the
4 parking lot. 4 task force over there and no one has ever heard
5 Q. What happened during that time period 5 ofa Fifty.
6 between the phone call and when Ron Greve 6 Q. Is it uncommon to be able to find
7 arrived? 7 information about a drug dealer if you only
8 A. In between the phone call, he was just 8 have an alias to work off of?
9 sitting there in the parking lot. Mr. Ruff was 9 A. Excuse me, what was the question?
10 sitting in the parking lot and he was under 10 Q. = Is it common or uncommon to be able to
11 surveillance by several surveillance officers 11 find a person if you only have their alias?
12 at that time. 12 A. Sometimes you can find them, if you can
13 Q. Following the Defendant's arrest on 13 start corroborating other evidence or other
14 December 13, 2002, did you arrange for anything 14 names to go with it. But if you just have one
15 further to occur in the investigation? 15 name and they're in a different town, it's
16 A. Yes, I did. 16 difficult to, at times, to figure out if there
17. Q@. ~~ And what happened? 17 was such a person.
18 A. Ihad Bert Carner place a recorded phone 18 @Q. Other than Fifty, did you investigate
19 call to Mr. Greve to see if we could possibly 19 anyone else after the interview with Mr. Greve?
20 purchase anything, any other narcotics that 20 A. We checked into -- he said he had met --
21. might be in the Dubuque area. 21. at The Clubhouse in Dubuque, Iowa, where a lot
22 Q. Whois Bert Carner? 22 of people hung out at, did some checking into
23 +#A. Bert Carner was a confidential informant 23. +The Clubhouse. The name -- goes by Memphis
24 for me at one time out of Dubuque, Iowa. 24 Kimball. His last name is Kimball, but the
25 @Q. When did that controlled phone call take 25 street name of Memphis is a name that kept
202 204
1 place? 1. coming up in our investigation as far as this
2 A. On December 18, 2002. 2 clubhouse in Dubuque, Iowa.
3 Q. Which phone was used? 3 @Q. Did you find anything that substantiated
4 A. The undercover line, the Division of 4 anything regarding Mr. Kimball?
5 Narcotics Enforcement undercover line, which is 5 A. Found out that supposedly Memphis, Marvin
6 located in our office in Dubuque, Iowa. 6 Kimball I guess was his real name, he was a
7 Q. And as a case agent in the Defendant's 7 suspect in some drug investigations in the
8 case, were you aware of the interview that took 8 Rockford area, according to the officers in
9 place with Mr. Greve following the transaction 9 Rockford. And also had some intelligence on
10 on December 13? 10 him in the Dubuque area, as well as moving some
11+=#A. Yes, I was. 11. cocaine in the Dubuque, Iowa, area.
12 @Q. Did you follow up on any of the 12 Q.  Sohe was, in fact, a real person?
13 information he provided? 13°#=A. Yes, he was.
14 +A. Yes, we did. 14 MS. BAUMANN: No further questions at
15 Q. And what sort of follow-up did you do? 15 this time, Your Honor.
16 A. Mr. Greve stated that his source was by 16 THE COURT: Cross-examination.
17 the name of Fifty. I contacted several of my 17 MR. TAYLOR: Thank you.
18 informants that I was currently working with to 18 CROSS-EXAMINATION
19 see if they had ever heard of a Fifty. They 19 BY MR. TAYLOR:
20 had not heard of a Fifty. I contacted the 20 @Q. Soas far as you could determine, there
21 Dubuque Drug Task Force from the street crimes | 21 was no such person as Fifty?
22 «unit officers to -- wanted to know if they had 22 +A. Correct.
23. «~ever heard of a nickname Fifty. They couldn't 23 @._ And if he was from Rockford, Rockford
confirm anything. I contacted narcotics 24 authorities didn't know of anybody who went by
Cas pagee abt SHO ROMA Police De psenune! “4-5 EHLEAGAE GF HD rigntae 13 of 27

205 207
1 +A. That’s correct. 1 @Q. Okay. But basically the transaction was
2 Q. Did you attempt to talk to Marvin 2 made with Mr. Carner in terms of he would be
3 Kimball? 3 the one who would get the marijuana and sell it
4 A. No, I did not. 4 to you, correct?
§ Q. And It was your understanding, wasn't it, 5 A. Bert Carner was the one that sold me the
6 that this meeting between Mr. Greve and 6 marijuana.
7 Mr. Kimball at The Clubhouse was supposed to 7 @ And no contact was made with Mr. Greve
8 have taken place when Mr. Kimball lived in 8 regarding that, right?
9 Dubuque in about the year 2001 or 2002? 9 A. With the marijuana I purchased from Bert?
10 A. That's my understanding. He was in the 10 Q. Yeah.
11. area anyway. I'm not sure where he was living. |11. A. No.
12 @Q@. When Mr. Greve was taken to the Asbury 12 Q@. Now, I think you said that, during the
13 Police Station and questioned, was his cell 13 transaction on December 13 in the Heritage
14 phone seized? 14 Trail parking fot, that the initial part of the
15 A. Idonot--I don't know. 15 conversation that we heard had to do with
16 Q. Well, in attempting to follow up on some 16 Mr. Ruff trying to get Mr. Greve to come up
17 of the information that Mr. Greve stated, did 17. with some drugs; Is that right?
18 you check to see whose names may have been in 18 A. Yeah, he was instructed by Deputy
19 the phone book, if you want to call it that, in 19 Schroeder to try to get Mr. Greve to bring some
20 the cell phone? 20 additional cocaine at that meeting.
21 A. No, I did not check. 21 Q. And to bring it to the meeting, correct?
22 Q. Okay. Do you know If anybody did? 22 A. Correct.
23 A. Idonot know. 23. @. And when Mr. Greve was arrested there at
24 Q. And at that time, at least, you were the 24 the Heritage Trall parking lot, afl he had was
25 case agent, correct? 25 just a personal use quantity of marijuana;
206 208
1 =A. Correct. 1 isn't that true?
2 Q. So you would have known if somebody had 2 A. Yes, that's true.
3 done that? 3 Q. Thank you.
4 A. Ishould have, yes. 4 MR. TAYLOR: That's all the questions
5 Q. Now, you sald Mr. Carner was a 5 Ihave.
6 confidential informant for you; is that 6 THE COURT: Anything else,
7 correct? 7 Ms. Baumann?
8 A. Yes, he was. 8 MS. BAUMANN: Yes, Your Honor.
9 @: And did that arise after he was arrested 9 REDIRECT EXAMINATION
10 for delivery of about a pound of marijuana in 10 BY MS. BAUMANN:
11 2000? 11. Q. ~~ ‘Inspector Mower, during the transaction
12 A. Idon‘'t recall the date, but after he had 12 you conducted in an undercover capacity with
13 sold me approximately 1 pound of marijuana, 13. Bert Carner In 2000, did you set up that
14 that's correct. 14 transaction yourself?
15 @. And during that transaction, you had said 15 A. Idon't recall if I actually set it. I
16 you were from Guttenburg; is that right? 16 was introduced to Bert through, I believe,
17, A. Idon’t recall. 17 another CI; but I know I actually met with Bert
18 @Q. And the contact for that transaction was 18 on my own.
19 made directly with Mr. Carner; was It not? 19 Q. So you don't know who that other CI
20 A. To purchase the 1 pound? 20 contacted in order to get the marijuana?
21 @Q. ~~ Yes, the initial contact. 21 A. I--I placed the phone call. I was
22 A. Actually, I believe it was set up through 22 introduced to Bert from someone else, another
23 another confidential informant, but I might -- 23 +CI; but I placed the phone call to purchase the
I think I did eventually talk to him. I know I 24 marijuana from Bert Carner.

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1 dealer with a user amount of marijuana in their 1 THE COURT: This is United States of
2 pocket? 2 America versus Ronald Greve, Criminal Number
3 A. Could you restate that, please. 3 04-1008. We are outside the presence of the
em 4 Q, Is it common or uncommon to find a drug 4 jury at the close of the Government's case to
5 dealer who has a user amount of marijuana in § makerecord. Mr. Greve is personally present
6 their pocket? 6 with his attorney, Wallace Taylor. Assistant
7 +A. Most of the time when we make arrests, 7 United States Attorney Theresa Baumann
8 the drug dealers usually have a personal amount | 8 represents the United States.
9 of drugs, narcotics, on their person. 9 We can first take up the issue of the
10 Q. In your experience as a drug 10 things conditionally admitted. And I think
11 investigator, why is that? 11 those are the marijuana transactions; are they
12 A. It seems to be that most drug dealers are 12 not?
13 usually drug users as well. 13 MS. BAUMANN: I believe Mr. Taylor
14 MS. BAUMANN: No further questions, 14 objected to everything prior to December 13,
15 Your Honor. 15 which would be all of the transactions.
16 THE COURT: Anything else, 16 THE COURT: All right. I think the
17 Mr. Taylor? 17 marijuana transactions are the ones that are of
18 RECROSS-EXAMINATION 18 the most concern to me. The -- there is
19 BY MR. TAYLOR: 19 circumstantial evidence that Defendant was
20 Q. But at least on December 13, Mr. Greve 20 involved in the cocaine conspiracy with
21. didn't have any dealer quantity on him, 21 Mr. Ruff, I believe. But the marijuana, those
22 ~«correct? 22 were in -- let me see my notes. I can't take
23 A. He had no cocaine on his person. 23. ~very good notes with one arm here. Remind me
24 Q. = Thank you. 24 of the dates of those.
25 MS. BAUMANN: That's all I have. 25 MS. BAUMANN: July 24 and August 19.
210 212
1 THE COURT: Anything else? 1 THE COURT: All right. What evidence
2 MS. BAUMANN: No, Your Honor. 2 does the United States claim was presented in
3 THE COURT: Thank you. You may step 3 this trial --
4 down. 4 MS. BAUMANN: Your Honor -- I'm
5 Ready for any further evidence on 5 sorry.
6 behalf of the United States. 6 THE COURT: -- that links those
7 MS. BAUMANN: United States has no 7 marijuana transactions to this conspiracy?
8 further evidence, Your Honor. I would ask for 8 MS. BAUMANN: Your Honor, as you
9 a ruling on the items that have been 9 pointed out, Shaun Ruff was a member of a
10 conditionally admitted. 10 conspiracy to distribute controlled substances
1 THE COURT: All right. Do you rest, 11. with the Defendant. He distributed the
12 then? 12. controlled substances which were involved on
13 MS. BAUMANN: Yes, Your Honor. 13 July 24 and August 19. So I believe it was
14 THE COURT: All right. Members of 14 linked up that way.
15 the jury, I have to take up some legal matters 15 Also, Bert Carner testified that the
16 with the lawyers. It will take just a few 16 Defendant had provided him with a pound of
17. minutes, and so I'll just give you a rest. Why 17 marijuana, and he had delivered that as early
18 don't you plan on coming back into the 18 as 2000.
19 courtroom about eleven o'clock. That will give 19 We believe for those reasons, and
20 us time to make -- do our legal work and then I 20 based on the Defendant's own admissions that he
en 21 want to give my court reporter a rest and then 21. was involved In selling drugs, that we have
22 we'll pick it up again at eleven. Please 22 linked those two buys to the conspiracy.
23. remember the admonitions of the Court. 23 THE COURT: Well, as I recall, and
(Whereupon, the jury exited the 24 correct me if I'm wrong, I don't think Ruff
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ever stated Ruff and he were involved in any
kind of drug conspiracy or did drugs together.
I think he had the last name of another person,
didn't he? Shaun Langley (sic) or something
like that.

MS. BAUMANN: In his admissions, he
admitted that he was involved with Shaun, who
he didn't know the last name of. In the
telephone call, which was Government
Exhibit 18, he identified the Shaun as Shaun
Lang. We believe all the other evidence shows
that he just had the wrong name, and this
person he referred to as Shaun was Shaun Ruff.

THE COURT: Allright. Mr. Taylor.

MR, TAYLOR: Thank you, Your Honor.

As you've indicated, Mr. Greve never
mentioned the name Shaun Ruff. And in the tape
recording, which was a clandestine recording so
he didn't know it was being recorded, he
said -- he told them it was a Shaun Lang. And
there is just no evidence. Even if we assume
for the sake of argument that Mr. Greve was
correct, that he had sold Mr. Ruff some cocaine
on a few occasions, that doesn't necessarily
mean that the transactions that were introduced

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tying that up.

MS. BAUMANN: Your Honor, may I?

THE COURT: Yes.

MS. BAUMANN: I would point you to
Eighth Circuit law regarding conspiracy. An
instruction that you gave in United States
versus Kendrick states that the Defendant is
liable for any acts of co-conspirators which
occurred even if they occurred prior to him
entering the conspiracy.

Even if he didn't know Shaun Ruff at
the time he was making the deliveries of the
marijuana, he is responsible under conspiracy
law for the acts of his co-conspirators if he
later joins in that agreement, knowingly and
voluntarily, knowing the purpose of the
agreement.

THE COURT: And I would agree with
that, but I'm not sure we're talking about the
same conspiracy here. It seems to me, and I'm
trying to look at this as objectively as
possible, I can see your argument with the
cocaine, but with the marijuana, I just don't
find any connection between Shaun Ruff and
marijuana and this Defendant. I can't -- there

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into evidence have anything to do with the
cocaine that Mr. Greve allegedly sold to
Mr. Ruff.

And the testimony from, I think,
Officer Mower was that they understood that
Mr. Ruff's source was Trevor Deutmeyer. So it
seems to me that to say that these prior
transactions involve Mr. Greve is pure
speculation, and I think -- Ms. Baumann almost
admitted that when she was talking to you a
moment ago, that this is speculation, and I
don't believe that that rises to the level of
being admissible evidence, particularly in
light of Rule 403 when it would be so
prejudicial to admit it.

THE COURT: Well --

MR. TAYLOR: Without Mr. Ruff
testifying, I don't think we have any basis for
establishing admissibility.

THE COURT: Well, it seems to me that
there is some circumstantial evidence on the
cocaine in view of the fact that they're
setting up a transaction to pay off drugs that
were fronted, But the marijuana, I have a real

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isn't even circumstantial evidence that I
can -- that I can hang my hat on.

I don't -- I don't see that this is
necessarily even the same conspiracy. For all
we know, Ruff and whoever were dealing
marijuana before this Defendant became involved
with him in the cocaine trafficking, for sake
of argument.

I'm not making a finding, obviously,
but I think -- I think there are potentially
two conspiracies here, and I don't think
there's any proof that Mr. Greve was in the
marijuana one. So I am going to make a finding
that the marijuana transactions should not be
admitted as evidence against the Defendant.
And so what I'm going to need you to do --
obviously, we've got two exhibits, 1 and 2,
that came in, that were conditionally admitted,
and then we'll have to make a statement that
the Court has found that there is insufficient
evidence to link Mr. Greve to the marijuana
transactions that were testified to and to
Exhibits 1 and 2.

Will that be sufficient? If you want

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1 with your language. 1 occasions.

2 MR. TAYLOR: I guess I'm not 2 MR. TAYLOR: And Detective

3 following, Your Honor. 3 Schroeder's testimony, I think, in that regard.
4 THE COURT: All right. In my ruling, 4 THE COURT: I’m sorry?

§ when the jury comes back, I'm going to make a 5 MR. TAYLOR: Detective Schroeder's

6 finding that the Government has not proven 6 testimony in regard to the first two

7 beyond a reasonable doubt Defendant's 7 transactions.

8 connection with a conspiracy that has as an 8 THE COURT: Okay.

9 object the distribution of marijuana -- 9 MR. TAYLOR: Detective Schroeder I
10 MR. TAYLOR: Okay. 10 think was the case agent at that time.
1 THE COURT: -- and that the jury 11 MS. BAUMANN: He was.
12 should disregard Exhibits 1 and 2 and any 12 THE COURT: Okay. All right. With
13. testimony concerning Defendant's connection 13. that decision having been reached, then,
14 with -- alleged connection with distribution of 14 Mr. Taylor, I'll let you make your record at
15 marijuana by Mr. Ruff. 15 the close of the Government's case.
16 MR. TAYLOR: Yes, pursuant to your 16 MR. TAYLOR: Thank you, Your Honor.
17 ruling; I don't want to waive my objection to 17 We would move for directed verdict on
18 the cocaine as well. 18 all of the portions of Count 1 of the
19 THE COURT: Yes, yes. I -- I don't 19 indictment. I think the Court's already ruled
20 have any problem -- I can make the connection | 20 on the second portion with regard to the
21 between the cocaine, Ruff, and this Defendant. 21. marijuana.
22 I just can't make that connection, I think the 22 With regard to the cocaine, although
23 evidence is insufficient, with regard to the 23 there's some circumstantial evidence, if you
24 marijuana. 24 want to stretch it, I don't think it rises to
25 MS. BAUMANN: Your Honor, while 25 the level of convincing a reasonable jury

218 220

1 preserving our objection to your ruling, I 1 beyond a reasonable doubt that Mr. Greve was
2 would also suggest that page 1 of Government 2. involved with any cocaine distribution to

3 Exhibit 7 somehow be redacted. That is the 3 Mr. Ruff. And in light of that, I don't

4 quantity of marijuana that was involved in 4 believe there's any evidence to support the

§ Exhibits 1 and 2 in the laboratory report. § third aspect of Count 1 of the indictment

6 THE COURT: Okay. All right. Here's 6 regarding the use of the telephone.

7 what I propose to say to the jury: After 7 THE COURT: Ms. Baumann.

8 reviewing the evidence, the Court finds that 8 MS. BAUMANN: Thank you, Your Honor.
9 the United States has not proven beyond a 9 The Government believes it has presented

10 reasonable doubt that Defendant engaged in a 10 sufficient evidence for a reasonable jury to

11. conspiracy with the object to knowingly and 11 find beyond a reasonable doubt that the

12. intentionally distribute marijuana. Therefore, 12 Defendant committed the offenses charged in the
13 the jury will disregard any testimony about the 13 indictment. Therefore, we would ask that it be
14 marijuana distribution transactions between 144 submitted to the jury.

15 Shaun Ruff, a confidential informant, and Agent | 15 THE COURT: All right. The motion

16 Mower on July 24, 2002, and August 19, 2002, 16 for judgment of acquittal on the remaining

17 and the portion of Exhibit 7 that deals with 17. objects of the conspiracy is overruled. I will
18 the testing of the marijuana, as well as 18 obviously in post-trial motions take a hard

19 Exhibits 1 and 2. Exhibits 1 and 2 are now not 19 look at the evidence, as I always do, in the

20 admitted into evidence and Exhibit 7 will be 20 event of conviction.

21 ~redacted. 21 All right. Mr. Meyer is in the

22 MS. BAUMANN: Your Honor, the only 22 courtroom. He is an attorney that we asked to
23 comment I would have on that is that Agent 23 come over and talk to defense witness Marvin
< Mower was not involved. It was strictly 24 Kimball. Actually, Mr. Taylor suggested that

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1 Mr. Meyer, would you like to come 1 advised him that he should not testify in this
2 forward so it doesn’t seem like you're down the 2 case because anything he said could be used
3 end of the hall talking to us. 3 against him in one way or another in the
4 MR. MEYER: Sure. 4 pending state court charge in Dubuque or East
5 THE COURT: Have a chair, Mr. Meyer. 5 Dubuque.
6 MR. MEYER: Okay. 6 So what he planned to do was -- what
7 THE COURT: Mr. Meyer, have you had 7 he intends to do is to assert his right to
8 an opportunity to talk to Mr. Kimball? 8 remain silent against self-incrimination.
9 MR. MEYER: I did just before I came 9 THE COURT: Mr. Taylor, would you
10 into the courtroom a few minutes ago and 10 like to give Mr. Meyer some idea of where you
11 listened to the proceedings, and I think 11. would be going with that witness so that we can
12 there's a couple of issues. One, why wasn't he 12. determine if we're even going to implicate
13 here exactly at nine o'clock; and the other is, 13° anything?
14 should he exercise his right to remain silent. 14 MR. TAYLOR: Yes, I was going to
15 And I'm prepared to proffer what I think he 15 suggest Mr. Meyer and I talk.
16 would say with respect to why he wasn't here 16 THE COURT: Yes, could we do that?
17 this morning. 17 And do you have other witnesses you're going to
18 THE COURT: That's fine. 18 call before --
19 MR. MEYER: He came to 19 MR. TAYLOR: Yes.
20 Cedar Rapids -- he got a subpoena, I think, on 20 THE COURT: -- Mr. Kimball?
21 Monday, that Mr. Taylor issued. He came to 21 MR. TAYLOR: Yes.
22 Cedar Rapids last night, checked into the Best 22 THE COURT: And then after you talk,
23 Western in order to be here on time. This 23. «that will give Mr. Meyer an opportunity to go
24 morning, the people at the Best Western told 24 back to his client and visit some more, and
25 him to go to the state courthouse, that that 25 then perhaps at the noon break, Mr. Meyer will
222 224
1 was the courthouse he wanted to go to. He's 1 have a better idea of whether or not his
2 from East Dubuque and doesn't live in 2 client's going to be able to testify.
3 Cedar Rapids, so he went to the state 3 All right. We'll see you about
4 courthouse, went through the metal detector and | 4 eleven.
5 went up to the third floor apparently, and 5 (Whereupon, a brief recess was
6 somebody there told him you're in the wrong 6 taken.)
7 courthouse. So then he came over here and has | 7 THE COURT: I see that you have
8 been waiting since I'm not sure when, about 8 discovered that there are only two temperatures
§ 9:30 or so. 9 in this courthouse, too hot and too cold. We
10 THE COURT: I think that's about 10 don't have anything in between.
11 right. 11 We're ready now to continue with the
12 MR. MEYER: And then that's his 12 case of United States of America versus Ronald
13 excuse for not being at this courthouse at nine 13 Greve,
14 o'clock. 14 Before we go any further, I want to
15 THE COURT: It's believable. 15 make the following ruling: After reviewing the
16 MR. MEYER: And, in fact, he does 16 evidence, the Court finds that the United
17. have a Best Western key to the room that makes |17 States has not proven that Defendant engaged in
18 me believe that he did, in fact, come here last 16 aconspiracy with the object to knowingly and
19 night. 19 intentionally distribute marijuana. Therefore,
20 So the other thing is whether he 20 the jury is instructed to disregard any
21 should testify or not. I understand that there 21 testimony about the marijuana distribution
22 are pending -- there's a pending state drug 22 transactions between Shaun Ruff and a
23. charge in -- I'm not sure if it's in East 23 confidential informant on July 24, 2002, and
24 August 19, 2002, including the testimony of

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saad or in Dubuque itself. And his

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1 Also, you will disregard Exhibits 1 1 A. Through hearsay, I did, yeah, but never
2 and 2. They will not be admitted in evidence, 2 really witnessed anything in a room.
3 and we will redact or take the pages out of 3. Q. And is that something Mr. Ruff told you?
4 Exhibit 7 that deal with the marijuana, so the 4 A. Basically, yeah.
5 marijuana is no longer a part of this case. 5 Q. Okay. And what did you understand to be
6 All right. Mr. Taylor, would you 6 his source?
7 like to present evidence on behalf of 7 MS. BAUMANN: Objection, Your Honor,
8 Mr. Greve? 8 cails for hearsay.
9 MR. TAYLOR: Yes, Your Honor, we 9 THE COURT: It sounds like hearsay to
10 would. 10 me. Do you admit it's hearsay, and if so, does
11 THE COURT: You may proceed. 11 an exception apply?
12 MR. TAYLOR: We call Edward Michel. 12 MR. TAYLOR: It is hearsay. I think
13 THE COURT: Hello, sir. Please come 13 it's an admission against interest.
14 forward. Raise your right hand. 14 THE COURT: I don’t think that we
15 EDWARD MICHEL, 15 have foundation for that. The objection is
16 called as a witness, being first duly sworn, 16 sustained.
17 was examined and testified as follows: 17. BY MR, TAYLOR:
18 THE COURT: Please come to the 18 @. Did you ever observe Mr. Ruff receive
19 witness stand. 19 cocaine from anyone?
20 DIRECT EXAMINATION 20 A. Yes.
21. BY MR. TAYLOR: 21 Q. And about when was that, if you recall?
22 Q. Would you state your name for the record, 22 A. August or September of that year,
23 ~pilease. 23 probably. Right in that area.
24 +A. Edward Joseph Michel. 24 Q. Okay. And do you know who -- who
25 Q. How do you spell your last name? 25 supplied the cocaine to Mr. Ruff?
226 228
1 A. M-I-C-H-E-L. 1 +A. At that time?
2 Q. Where do you live? 2 Q. Now; do you know now who it was?
3 A. Bellevue, Iowa. 3 MS. BAUMANN: Objection, Your Honor,
4 @Q. How long have you lived there? 4 confusing, and calls for hearsay.
5 A. All my life. 5 THE COURT: I don't think it calls
6 Q. How old a man are you? 6 for hearsay if he saw it with his own eyes.
7 +A. Forty-four. 7 Maybe you could restate the question
8 Q. Are you employed? 8 so that we don't have confusion here and get
9 A. Yes. 9 Into hearsay.
10 Q@. Where do you work? 10 MR, TAYLOR: All right.
11. A. Iworked for a concrete company in 11. BY MR. TAYLOR:
12 Davenport. I'm a cement finisher. 12 Q. Tell us basically what you observed in
13 Q. And have you got a family? 13 that August or September time frame when you
14 A. Yes, Ido. 14 saw drugs being delivered, specifically,
15 Q. Tell us about that. 15 cocaine, to Mr. Ruff.
16 A. Wife, son, three daughters. 16 A. Yes.
17. Q. In 2002, were you working with law 17. Q. Will you describe what you saw?
18 enforcement against a man named Shaun Ruff? 18 A. Justa delivery being made, never really
19 A. Yes, I was. 19 knew who it was. Just observed it.
20 Q. And did that extend from about July of 20 @. And did you come to understand that that
21. 2002 up through November of 2002? 21. was a Trevor Deutmeyer who made that delivery?
22 A. Yes, it did. 22 A. Iwas under that understanding at a later
Q. And during that period of time, did you 23 «date, but never really knew that at the time.
24 But that was also through hearsay.

23
¢ come to understand who Mr. Ruff's source was
a

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1 A. No, I donot, sir. 1 REDIRECT EXAMINATION

2 @. = And do you remember how much cocaine it 2 BY MR. TAYLOR:

3 was? 3 Q. Did you ever see Mr. Ruff obtain cocaine

4 A. It wasa very minute amount, probably an 4 from anybody in October or November?

S_ eighth or a quarter ounce, I think. 5 A. No,I did not.

6 Q. And do you recall if it could have been a 6 Q. Thank you.

7 quarter pound? 7 MR. TAYLOR: That's all I have, Your

8 A. May have been, but -- 8 Honor.

9 @Q@. Do you know Ron Greve, who sits to my 9 MS. BAUMANN: Nothing further.
10 right? 10 THE COURT: Thank you, sir. You may
11. A. Just because you just said that, 11 step down.
12 otherwise I wouldn't -- wouldn't even know him. | 12 MR. TAYLOR: Call Babette Birch.
13 Q@. = And is this the gentleman that delivered 13 THE COURT: Good morning, ma'am.
14 the cocaine to Mr. Ruff? 14 Please raise your right hand.
15 A. Not at that time, no. 15 BABETTE BIRCH,
16 Q. Thank you. 16 called as a witness, being first duly sworn,
17 MR. TAYLOR: That's all the questions 17 was examined and testified as follows:
18 J have, Your Honor. 18 THE COURT: Please come to the stand.
19 THE COURT: Cross-examination. 19 DIRECT EXAMINATION
20 MS. BAUMANN: Thank you. 20 BY MR. TAYLOR:
21 CROSS-EXAMINATION 21 Q. ~~ Will you state your name, please.
22 BY MS. BAUMANN: 22 A. Babette Long, Babette Birch.
23 Q.~ Mr. Michel, did you see Shaun Ruff 23 Q. You're recently married?
24 purchase any cocaine in October of 2002? 24 +A. Yes, Saturday.
25 A. October of 2002? Yes, I did. 25 Q. Where do you live?

230 232

1 @Q. When was it, do you remember? 1 A. In Dubuque, Iowa.

2 A. It was at his apartment one night. 2 @. How long have you lived in Dubuque?

3 Q.  Whodid he purchase it from? 3 A. Most of my life.

4 A. That person I don't know because that 4 @. Do you know Ron Greve?

5 person was outside. 5 A. Yes. He's my son.

6 Q@ And-- 6 Q. Did Ron graduate from high school there

7 +A. And I just never seen that person. 7 in Dubuque?

8 @Q. So you didn't actually see cocaine -- 8 A. Yes.

9 A. No. 9 @Q. Did he take any further education after
10 Q.  -- change hands? 10 graduating from high school?
11. +A. No, not that night. 11. A. Ron moved in with me in 2001, September,
12 @Q. Did you ever see cocaine change hands 12 and he started going part-time at NICC.
13 with Shaun Ruff and someone else after that 13. Q@. = Is that a community college?
14 date? 14 A. Yes.
15 A. No,I did not. 45 @. And how long was he enrolled there?
16 @Q. Sonotime in November or December did 16 A. I'mnotsure. I know through -- through
17 you see Shaun Ruff buy any cocaine? 17. the winter class of 2002, I believe.
18 A. Not buy it, no. , 18 @Q. And was he a full-time student?
19 MS. BAUMANN: Nothing further, Your 19 A. Part-time.
20 Honor. 20 @Q. And during that time period, where was he
21 THE COURT: Anything else, 21 living?
22) «Mr. Taylor? 22 A. With me.
23 23 @. Okay. Did he pay you any rent or buy any

24
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food or anything like that?
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1 Q. So basically he was still living at home? 1 =A. Yes.
2 A. Yes. 2 Q. And were you employed prior to your
3 @Q. To your knowledge, did he have any 3 current job?
4 expenses to speak of at that point? 4 A. Yes.
5 A. No, none that I know of, other than for 5 Q. Where were you employed?
6 gas to get to school and things like that. 6 A. CiCi's Mexican Restaurant.
7 @. ~~ During the time that he was living with 7 @. And how much, approximately, income did
8 you in 2001, 2002, did he have any employment? 8 you have coming in when you were a -- or when
9 A. He worked part-time at Journeys, I 9 you worked at CiCi's?
10 believe, at the Kennedy Mall on and off. I'm 10 A. I made 10.25 an hour.
11 not sure how long he was there or what dates or ]/11 Q. 10 to 25 --
12 anything. 12 A. Iwasacook, yes.
13 Q. ~—Did he just have a few part-time jobs 13 Q@. $10 to $25 an hour?
14 _while he was going to school? 14. A. 10.25 an hour.
15 A. Yes. 15 @Q. Oh, excuse me. And did you have any
16 @Q@. Did you ever see Ron flashing around a 16 other people living at your home other than
17 lot of money? 17° Ron?
18 A. No. 18 A. My fiancee, well, my husband now.
19 Q. Did he buy a lot of fancy things? 19 Q. And did he share the bills with you at
20 A. No. He was usually asking me for 5 or 10 20 that time?
21 here and there. 21 A. Yes, he did.
22 @. = And at what point, then, did he -- if he 22 Q. You said Mr. Greve, your son, was in
23 did, leave your residence? 23. = school?
24 A. Last December, I'm not sure what day. I 24 A. At NICC.
25 just know it was before Christmas of -- 25 Q. How did he finance his education?
234 236
1 @Q. 2003? 1 A. School -- student loans.
2 =A. Yes. 2 @._ And you said he was working at the time?
3 @Q. Okay. Was he still going to school then, 3 A. Part-time that I know of at Journey's.
4 or-- 4 @. About how much was he earning, do you
5 A. I'mnot sure. I don't believe so. I'm 5 know?
6 not sure. 6 A. Ihaveno idea. He was an adult. I
7 @. Thank you. 7 «didn't ask him.
8 MR. TAYLOR: That's all the questions 8 @. Would you be surprised to know that in
9 Ihave, Your Honor. 9 the last three months of 2001, he only earned
10 THE COURT: Cross. 10 $77?
1 MS. BAUMANN: Thank you, Your Honor. 11. A. really wouldn't know. I didn't ask to
12 CROSS-EXAMINATION 12 see his checks.
13. BY MS. BAUMANN: 43. Q@. Did he have a vehicle at that time?
14 @Q. Ms. Birch, are you currently employed? 14. A. Atone point. I'm not sure what year or
15 A. Yes. 18 anything. I know he had a junk red car.
16 Q. How are you employed? 16 Q. Was ita Honda?
17. A. At Eagle Window and Door manufacturing 17 A. I believe so.
18 «plant. 18 Q. Who paid for that vehicle?
19 @Q. And were you employed in that job in 2001 19 A. Ibelieve he did that with his student
20 and 2002? 20 loan money.
21. A. In 2002, I was. 21. Q@. =o you know your son to distribute drugs?
22 Q@. When did you start there? 22 A. No.
23 A. 2002. 23 @. ~~ sIs it fair to say that you love your son?
24 @Q. _ So your son lived with you prior to you 24 A. Yes.
$5 Sete G that joy 008- MW “LTS” Document 7TARZS FAled hdl brén to yod Séimnmuniéate with him

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1 now? 1 Now, I talked to Mr. Taylor about

2 A. Every day. 2 what Mr. Kimball might be called upon to

3 @. Would it be fair to say that he respects 3 testify about, and I understand it's a

4 you as his mother? 4 statement that Mr. Taylor's client supposedly

5 A. Yes. 5 made to a police officer. And it relates to,

6 MS. BAUMANN: Nothing further, Your 6 in part, some individuals or, at least an

7 Honor. 7 individual, from Rockford, Illinois, and

8 THE COURT: Anything else, 8 whether or not Mr. Kimball knows that

9 Mr. Taylor? 9 individual.
10 REDIRECT EXAMINATION 10 And it’s my belief that if
11. BY MR. TAYLOR: 11. Mr. Kimball were to acknowledge that he was in
12 Q. The student loans that Ron got, did he 12 a particular place in Dubuque, I think it's
13 get some spending money as well? 13. called The Clubhouse, that could tend to
14 A. Yes, 14 incriminate him with respect to either whether
15 Q. Thank you. 15 or not he's guilty of the offenses that he's
16 MR. TAYLOR: That's all I have, Your 16 charged with; or if he is guilty, what the
17. Honor. 17. punishment might be.
18 MS. BAUMANN: Nothing further. 18 If he were to acknowledge that he
19 THE COURT: Thank you. You may step [19 associates with an individual called -- or
20 down. 20 named Fifty, that could also tend to
21 MR. TAYLOR: Our final witness is 21 incriminate him, or affect his punishment if he
22 Mr. Kimball, Your Honor. 22 were convicted.
23 THE COURT: All right. Let's -- 23 And even if the question were limited
24 Members of the jury, we need to take up another | 24 to, "Do you know Mr. Greve," the other aspects
25 short legal matter. I'm going to give you 25 of what Mr. Greve supposedly told the officers

238 240

1 another short break. I'm sorry about breaking 1 or officer could lead to questions that, in a

2 this up. Plan to come back in the courtroom 2 roundabout way, could tend to incriminate

3 about 11:30, and please remember the 3 Mr. Kimball.

4 admonitions of the Court. 4 So for those reasons, I would ask the
5 (Whereupon, the jury exited the § Court to allow Mr. Kimball to assert his right

6 courtroom.) 6 to remain silent. I think there's a basis for

7 THE COURT: Mr. Meyer, would you like 7 it.

8 to come forward, sir. This is record in United 8 And I just want to alert the parties,

9 States of America versus Ronald Greve, Criminal 9 he does intend to exercise his Fifth Amendment
10 Number 04-1008. We're outside the presence of [10 right to remain silent, and I think that there
11 the jury for the purpose of making record. 11 is a basis for him to do so.
12 Joining Mr. Greve and his attorney, 12 THE COURT: Allright. Mr. Taylor.
13 Mr. Taylor, and Ms. Baumann, is attorney Mark 13 MR. TAYLOR: Thank you, Your Honor.
14 Meyer. He is representing Mr. Kimball, a 14 Briefly I would proffer what I would
15 proposed defense witness. 15 expect to inquire about with Mr. Kimball.
16 Mr. Meyer, what -- after talking to 16 As the Court heard from Agent Dasso's
17. Mr. Taylor and talking to your client, what is 17 testimony, Mr. Greve allegedly said he had met
18 your client's decision? 18 amannamed Memphis, who is Marvin Kimball, at
19 MR. MEYER: Your Honor, my client was |19 The Clubhouse in Dubuque in early 2002. He was
20 advised prior to coming here by his attorney, 20 introduced to a man known as Fifty, and
21. who is representing him in a pending state 21 allegedly Fifty was from Rockford, and brings
22 matter, that it would not be in his interest to 22 lots of drugs into Dubuque.

23 «testify about any matters relating to drug 23 And my understanding is that

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transactions, and that's what Mr. Kimball

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Mr. Kimball would say that he had moved to East

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1 Clubhouse in early 2002, that he knows a 1 this case about matters pertaining to drug
2 person -- he knows of a person named Fifty, who | 2. offenses.
3 was not from Rockford, not even from Dubuque, | 3 THE COURT: All right. Any other
4 and that he has no information whatsoever that 4 record either party wishes to make?
§ this man named Fifty was involved in any sort 5 MS. BAUMANN: No, Your Honor.
6 of drug activity, and also that he does not 6 MR. TAYLOR: No.
7 know Mr. Greve. 7 THE COURT: All right. The Court
8 And I'm not sure how that implicates 8 does find that Mr. Kimball would exercise his
9 him in anything, and I can't visualize 9 Fifth Amendment right not to incriminate
10 cross-examination, but I can't visualize any 10 himself, and I do relieve him from his subpoena
11 examination that would be within those 11 and will not require him to take the stand in
12. boundaries that would incriminate Mr. Kimball. 12 view of Mr. Meyer's representations.
13 It's my understanding he does have a 13 Anything else?
14 pending simple possession charge in East 14 MR. TAYLOR: No, Your Honor.
15 Dubuque, but that’s the extent of it. 15 THE COURT: All right. Thank you,
16 THE COURT: I understood somewhere, I|16 Mr. Meyer, for helping us.
17 thought, that there were two controlled buys on | 17 MR. MEYER: You're certainly welcome.
18 him. 18 THE COURT: When we go back on the
19 MS. BAUMANN: There's a pending 19 record, Mr. Taylor, then are you going to have
20 investigation on him, yes. 20 more evidence?
21 THE COURT: Okay. Mr. Meyer, what -- | 21 MR. TAYLOR: No.
22 knowing that that's where Mr. Taylor is going, 22 THE COURT: So you'll be resting, and
23 do you still feel that your client’s rights are 23. then we have sandwiches ordered for the jurors.
24 in jeopardy and that he should assert his Fifth 24 What I would suggest we try to do,
25 Amendment right to remain silent? 25 since this has been a relatively short case, is
242 244
1 MR. MEYER: I do, Your Honor. I 1. to try to put the instructions together. I
2 tried to figure out some way it could be 2 don't think we had a lot of controversy. I'll
3 limited, but I -- for instance, "Do you know 3 have my clerk start taking out references to
4 Mr. Greve," and I just don't see any way 4 marijuana and making the changes quickly, and
5 that that -- if he even admits that he knows § then hopefully we can still put this in this
6 Mr. Greve or doesn't know Mr. Greve, if that 6 afternoon.
7 couldn't lead down a path that he didn't want 7 MR. TAYLOR: If the Court please,
8 togo. By that I mean, a path that could tend g there is one other matter. I have an exhibit.
9 to incriminate him. 9 I've labeled it Exhibit A. And it's
10 There is a pending charge now in 10 Mr. Greve's phone records from September 13,
11 state court, and I understand there's another 11. 2002, through December 30. And I've --
12. investigation in Rockford, Illinois, that 12 pursuant to stipulation, I would offer that
13 involves Rockford, Illinois, somehow. 13 into evidence.
14 It would just be treading on pretty 14 THE COURT: All right. You're going
15 thin ice for Mr. Kimball to be testifying in a 18 todo that in front of the jury?
16 criminal case about whether or not he knows 16 MR. TAYLOR: Sure.
417. about Mr. Greve who is charged with drug 17 THE COURT: And then you'll rest, and
18 offenses and whether he knows Fifty who 16 then I'll send them to have lunch. And I think
19 supposedly Is a drug dealer. 19 it isn't overly optimistic to think that we
20 I mean, it's just -- seems like it's 20 could start putting this in about one o'clock.
21 going to be hard to narrow the questioning so 21. Okay. All right.
22 that these things don't come up. 22 (Whereupon, the jury entered the
23 Plus, his attorney in the state court 23 courtroom.)
case told him in no uncertain circumstances, 24 THE COURT: We are ready, then, to
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1 America versus Ronald Greve. 1 instructions together, all but the last two
2 And, Mr. Taylor, would you like to 2 instructions and the verdict form. Then we'll
3 present any other evidence? 3 hear the final arguments from the lawyers.
4 MR. TAYLOR: Yes, Your Honor. 4 Then we'll read the last two instructions
5 Defendant's Exhibit A is a record of telephone 5 together, and go over the verdict form, and
6 calls related to Mr. Greve's telephone from 6 then the case will be fully submitted to you.
7 September 13, 2002, through December 30, 2002. | 7 You then will begin your
8 And pursuant to stipulation, I would offer that 8 deliberations. If you have not reached a
9 into evidence. 9 verdict by five o'clock today, then you'll
10 THE COURT: Any objection? 10 return tomorrow morning at nine, and deliberate
11 MS. BAUMANN: No, Your Honor. 11 all during the day until five o'clock, and
12 THE COURT: Received. 12 we'll provide lunch for you, because once you
13 (Whereupon, Exhibit A was received.) 13 start deliberating, you have to stay together.
14 MR. TAYLOR: With that, the defense 14 And so that will be our schedule.
15 rests. 15 We'll just have you deliberate until you reach
16 THE COURT: All right. Will there be 16 a verdict and we'll supply the lunches each
17 any rebuttal evidence? 17. day. So that's what you can count on, and so
18 MS. BAUMANN: No, Your Honor. 18 I'm going to dismiss you at this time for
19 THE COURT: All right. Members of 19 lunch, ask you to be ready to come back at one
20 the jury, this closes the evidence in this 20 «o'clock.
21 case. And let’s talk about what our schedule's 21 Please continue to follow the
22 going to be from this point forward. 22 admonitions of the Court, and we'll see you in
23 At the conclusion of the evidence, 23 just a little bit.
24 then the lawyers and I put together the written 24 (Whereupon, the jury exited the
25 instructions on the law, which you have to 25 courtroom.)
246 248
1 follow in reaching your verdict. We've been 1 THE COURT: All right. While they're
2 working on those even before this case began, 2 changing the instructions, let's go ahead and
3 but we have to make some changes to them, and 3 make our additional record, if any, on motions.
4 that will take us a little while. 4 This is United States of America
5 I would like to continue to put this § versus Greve, Criminal Number 04-1008. We're |
6 case in this afternoon so that you get some 6 outside the presence of the jury at the close
7 deliberation time today, so I'm going to let 7 of ali the evidence to make any record that the
8 you have maybe a little longer lunch. 8 lawyers wish to make. Mr. Greve is here with
9 Sometime between now and noon, 9 his attorney, and Ms. Baumann is here on behalf
10 sandwiches will be available for you in the 10 of the United States.
11 jury room, if you'd like to stay here and eat; nN Mr. Taylor.
12 or if you want to go downtown, walk around, 12 MR, TAYLOR: Thank you, Your Honor.
13. that's fine with me too. 13 At the close of all the evidence, we
14 I think we'll be ready for you to 14 would reassert our motion for directed verdict
15 return to the courtroom about one o'clock. So 15 on the grounds previously urged.
16 I'd like you to be back in the bullding and in 16 THE COURT: All right.
17. the jury room at one o'clock. 17 MS. BAUMANN: And the Government
18 You can leave your pads and pens on 18 would object on the grounds previously urged.
19 your chair in your envelope, and we will 19 THE COURT: All right. And the Court
20 collect those and hold those for you and bring 20 rules that the motion for judgment of acquittal
21. them back to the jury room so that you have 21. on the remaining two objects of the conspiracy
22 them when you deliberate. 22 is overruled.
23 When you return to the courtroom at 23 If you want to take about a ten- or
one o'clock, you'll have a copy of the Court’s 24 fifteen-minute break, why don't you come back
£ ASE eae he QRS Sal! We WillfeabPeregenent 74435 Mikel) Gbarer to aweivestand det's

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1 informally walk through the instructions that I 1 substance was as charged in the indictment.
2 hope are corrected by that time, and then we'll 2 The United States need only prove beyond a
3 see how far we get. And we'll summon Patrice 3 reasonable doubt that there was a measurable
4 when we're ready to make our final record. 4 substance -- a measurable amount of the
5 Anything else that you want on the 5 controlled substance.
6 record before I let Patrice go have a break? 6 "However, if you find the Defendant
7 MS. BAUMANN: No, Your Honor. 7 guilty of the offense, you will be asked a
8 MR. TAYLOR: Could not think of 8 special interrogatory about the quantity of
9 anything. 9 marijuana involved in the offense.
10 THE COURT: All right. See you in 10 “The burden of proof is on the
11 fifteen. 11. Government to establish the quantity beyond a
12 (Whereupon, a brief recess was 12 reasonable doubt."
13 taken.) 13 Did you want a more specific one?
14 THE COURT: We're on the record in 14 THE COURT: No, we need some of that
15 United States of America versus Ronald Greve, 15 language, or else we need to -- let's see, in
16 Criminal Number 04-1008. Defendant is 16 Instruction 23, third paragraph, “If you find
17 personally present with his attorney, Wallace 17 the Defendant guilty under Count 1, you are
18 Taylor. Assistant United States Attorney 18 being asked to make a quantity determination."
19 Theresa Baumann represents the United States. | 19 I think we could just stop it there. I don't
20 I have just given to the lawyers a 20 know that we need any further explanation, do
21. copy of the Court's final jury instructions. 21 you?
22 Ms. Baumann, have you received a copy | 22 MR. TAYLOR: Yeah. Or you might just
23 of my final jury instructions? 23 ~+refer to the verdict form, that there's no
24 MS. BAUMANN: Yes, I have, Your 24 other instruction, I don’t know.
25 Honor. 25 THE COURT: Yeah, make a quantity
250 252
1 THE COURT: And are you ready to make | 1 determination in Interrogatory 1. Let's just
2 your record? 2 doit that way. I don't think we need any
3 MS. BAUMANN: I am, Your Honor. 3 further instruction. "You will make a quantity
4 THE COURT: You may proceed. 4 determination only if you find the Defendant
5 MS. BAUMANN: The United States has § quilty of the crime of conspiracy to distribute
6 no outstanding objections to the instructions 6 cocaine as charged in Count 1."
7 as they've been provided. 7 All right. Okay. We'll fix that up
8 THE COURT: All right. I just 8 a little bit.
9 noticed -- one second. Go to Instruction 23. 9 With that change, Ms. Baumann, any
10 There's an internal number, and it references 10 other objections to the instructions or the
11. making a quantity determination as explained in |11 verdict form?
12 instruction number -- let's see. 12 MS. BAUMANN: No, Your Honor.
13 MR. TAYLOR: 20, wasn't it? 13 THE COURT: All right. Mr. Taylor,
14 THE COURT: No. Don't we usually 14 have you had an opportunity and sufficient
15 have another instruction on quantity? I think 15 opportunity to review the Court's proposed
16 we have a standard instruction, don’t we, that 16 instructions?
17 says “If you find the Defendant guilty, then 17 MR. TAYLOR: Yes.
18 you'll determine the quantity,” blah, blah, 18 THE COURT: And are you ready to make
19 blah? Can you pull up an old one for me? 19 your record?
20 THE CLERK: We previously used one 20 MR. TAYLOR: Yes.
21. where the United States -- "In determining 21 THE COURT: You may proceed.
22 whether the Defendant is guilty of the crime of 22 MR. TAYLOR: Thank you, Your Honor.
23 conspiracy to distribute as charged in Count X, 23 We would object to Instruction Number
the Government is not required to prove that 20, which refers to a quantity of drugs in a
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1 quantities, includes the quantities that other 1 clarify what conduct the Defendant can be held
2 conspirators may have agreed to, and so on. 2 responsible for.
3 That apparently comes from a portion of the 3 As far as the interrogatory, again,
4 Eighth Circuit uniform instruction. It's 4 given Blakely and the Pirani decision, which
5 called the Apprendi instruction. 5 was just vacated yesterday, the law is
6 And in looking at that this morning, 6 certainly in flux. And I believe it's simpler
7 it appears that that portion is in brackets, 7 for the jury to decide upon a range of
8 and there's a footnote to it. In the footnote 8 quantity, if they do, in fact, find the
9 it says that Eighth Circuit law is unclear on 9 Defendant guilty, rather than calculating down
10 that. And I think that given that, and the 10 to the 10th of a gram themselves. So we
11 current state of the law after Blakely, that we 11 believe that's necessary.
12 really aren't clear at all now, and that this 12 THE COURT: All right. The Court
13 instruction should not be given. 13 overrules the objections made by defense
14 With respect to the verdict form, the 14 counsel, and these are the instructions that I
15 Court could just revise to set out in the 15 will be giving.
16 interrogatory fewer guideline ranges in which 16 I should have mentioned for the
17 the jury would be allowed to find a particular 17 record that prior to the attorneys receiving
18 quantity of cocaine. But it seems to me that 18 the final packet, they had received a draft
19 having what's, in effect, the guideline table 19 packet from us by fax before the trial began
20 set out in the jury instruction, in terms of 20 and we have had informal discussions and have
21 the interrogatory and the verdict form, is 21 resolved some of the issues ahead of time
22 confusing to the jury, maybe somewhat 22 before we got to the final packet.
23 intimidating, and may even be prejudicial in 23 Any other record anybody wants to
24 the sense that they can see how it relates to 24 make? If not, I'll let you have a little break
25 the sentence. 25 until one o'clock when the jury comes in. Big
254 256
1 I don't know that they're that 1 ten minutes.
2 in-depth, but they could be. Having given all 2 Anything else, Ms. Baumann?
3 that, I think the better approach would be just 3 MS. BAUMANN: Nothing further, Your
4 to say, "If you find the Defendant guilty, 4 Honor.
5 determine what quantity of cocaine that he 5 THE COURT: Mr. Taylor?
6 agreed to distribute,” and then just leave a 6 MR. TAYLOR: No.
7 blank for them to fill in each specific 7 THE COURT: All right. See you ina
8 quantity. 8 few minutes. We'll get you a new 23.
9 THE COURT: All right. Do you want 9 (This concludes the transcription of
10 to respond to Instruction Number 20, 10 the jury trial proceedings.)
11. Ms, Baumann? 11
12 MS. BAUMANN: Thank you, Your Honor. | 12
13 The Government would not object to 13
14 deleting the "for personal use” portion of that 14
15 jury instruction, as that is not an issue in 15
16 this matter. However, the jury instruction 16
17 clarifies the conduct of Shaun Ruff in this 17
18 case and whether the Defendant is held 18
19 responsible for that conduct, whether it's 19
20 foreseeable. I think the Footnote 6 to jury -- 20
21 Model Jury Instruction 6.21.846A.1 is 21
22 telling -- it discusses the Apprendi decision 22
23 and foreseeability in a conspiracy. 23
Given the state of the law right now, 24

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ASRS ISICON OP think WG a-dedd Repent 74r

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CERTIFICATE

I, Patrice A. Murray, a Certified
Shorthand Reporter of the State of Iowa, do
hereby certify that at the time and place
heretofore Indicated, a jury trial was held
before the Honorable Linda R. Reade; that I
reported in shorthand the proceedings of sald
jury trial, reduced the same to print by means
of computer-assisted transcription under my
direction and supervision, and that the
foregoing transcript is a true record of all
proceedings had on the taking of said jury
trial at the above time and place.

I further certify that I am not related
to or employed by any of the parties to this
action, and further, that I am not a relative
or employee of any attorney or counsel employed
by the parties hereto or financially interested
in the action.

IN WITNESS WHEREOF, I have set my
hand this 10th day of January, 2005.

Patrice A. Murray, CSR, RPR, RMR, FCRR
Federal Building

101 First Street S.E.

Cedar Rapids, Iowa 52401

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